            Case 1:20-cv-11857-PBS Document 25 Filed 04/16/21 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



 KRISTI VUKSANOVICH and MARK
 VUKSANOVICH,

                          Plaintiffs,
 v.
                                                                      Docket No: 1:20-cv-11857-PBS
 AIRBUS AMERICAS, INC., AIRBUS AMERICAS
 ENGINEERING, INC., AVSA S.A.R.L,
 AIRBUS S.A.S., and AIRBUS SE,

                          Defendants.

                              JOINT STIPULATION TO TRANSFER

         Plaintiffs Kristi Vuksanovich and Mark Vuksanovich alongside Defendant Airbus

Americas, Inc. hereby file this Stipulation to Transfer Venue to the United States District Court

for the Southern District of New York, and in support thereof, respectfully state:

      1. Plaintiffs filed an Amended Complaint alleging personal injury and products liability

         against the defendants on or about February 8, 2021.

      2. Defendant Airbus Americas, Inc. moved to dismiss the Amended Complaint for lack of

         personal jurisdiction and for failure to state a claim on February 22, 2021.

      3. Plaintiffs have moved to transfer this case to the Southern District of New York, and

         Defendant Airbus Americas, Inc. indicated in its response that it does not oppose this

         transfer.

      4. A hearing on both Motions is currently scheduled for April 21, 2021 at 9:30 a.m.




                                                   1
          Case 1:20-cv-11857-PBS Document 25 Filed 04/16/21 Page 2 of 3




   5. Pursuant to 28 U.S.C. § 1404(a), a district court, in the interest of justice, may transfer a

       case to another district where venue is proper, and a district court also has inherent

       authority to transfer cases in order to manage its docket.

   6. The interests of justice would be served by transfer, in that this action could have originally

       been brought in the Southern District of New York.

   7. Defendant Airbus Americas, Inc. does not waive any rights, privileges, or defenses,

       including but not limited to the jurisdictional and other arguments set forth in its pending

       Motion to Dismiss.

       THEREFORE, IT IS HEREBY STIPULATED AND AGREED, subject to the Court’s

approval, that:

    1. This case is hereby transferred to the Southern District of New York; and

    2. The oral argument scheduled for April 21, 2021 at 9:30 a.m. is hereby cancelled.

Dated: April 16, 2021                         Respectfully submitted,

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                                                 2
          Case 1:20-cv-11857-PBS Document 25 Filed 04/16/21 Page 3 of 3




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                                               * Pro hac vice motion to be filed




                                  CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and email and/or
paper copies will be sent to those indicated as non-registered participants on the date of electronic
filing.

                                                                /s/ Diane Nordbye
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                                                  3
